   Case 2:12-cv-00919-WKW-WC Document 1 Filed 10/19/12 Page 1 of 21




                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA	                         P 1:
                          NORTHERN DIVISION


A.E. PETSCHE CO., INC., a Texas
corporation,

                      Plaintiff,

            kv
                                             CIVIL ACTION NO.:
JKM MANUFACTURING, INC., an
Alabama corporation; ROBERT J.
THETINE, an individual; and CHAD B.
WHITE, an individual,

                      Defendants.


                                    COMPLAINT

      Plaintiff A.E. Petschc Co., Inc. ("AEP") hereby complains against

Defendants JKM Manufacturing, Inc. ("JKM"), Robert J. Theune ("Mr. Theune"),

and Chad B. White ("Mr. White"), and for its causes of action alleges as follows:

                                     PARTIES

       1. AEP is incorporated under the laws of the state of Texas, and has its

principal place of business in Tarrant County, Texas, and is therefore a citizen of

the state of Texas.
   Case 2:12-cv-00919-WKW-WC Document 1 Filed 10/19/12 Page 2 of 21




       2.	    JKM is incorporated under the laws of the state of Alabama, and has

its principal place of business in Barbour County, Alabama, and is therefore a

citizen of the state of Alabama.

       3.     On information and belief, Mr. Theune resides in Houston County,

Alabama, and is therefore a citizen of the state of Alabama. On information and

belief, Mr. Theune is, or was during the relevant time period, a principal

shareholder of JKM.

       4.     On information and belief, Mr. White currently resides in Fulton

County, Georgia, and is therefore a citizen of the state of Georgia. On information

and belief, Mr. White is the Chief Executive Officer ('CEO") of JKM, and is, or

was during the relevant time period, the Chairman of JKM's Board of Directors.

                          JURISDICTION AND VENUE

       5.     The Court has federal diversity jurisdiction pursuant to 28 U.S.C. §

1332(a)(1) and (c) because the matter in controversy exceeds the sum of $75,000,

exclusive of interest and costs, and because no defendant is a citizen of the same

state as the plaintiff.

       6.     The Court has personal jurisdiction over JKM and Mr. Theune,

because they reside in and are citizens of the state of Alabama.

       7.     The Court has personal jurisdiction over Mr. White because although

he is currently a citizen of the state of Georgia, he has committed acts within
   Case 2:12-cv-00919-WKW-WC Document 1 Filed 10/19/12 Page 3 of 21




Alabama and this judicial district giving rise to this action and has established

minimum contacts with the forum such that the exercise of jurisdiction over him

would not offend traditional notions of fair play and substantial justice.

       8.      Specifically, Mr. White is the CEO of JKM (which is incorporated

under the laws of and has its principal place of business in Alabama); he operated

and carried on the business of JKM in Alabama; he visited Alabama several times

to transact business on behalf of JKM; he executed (on behalf of himself and JKM)

certain of the pertinent contracts that were to be performed, in part, in Alabama;

and he was otherwise personally involved in the transactions giving rise to this

action. Indeed, Mr. White engaged in substantial and not isolated activity within

the state of Alabama, subjecting him to the general jurisdiction of the courts of the

state of Alabama, whether or not the claims at issue arise from that activity.

       9.      Venue is proper in this judicial district pursuant to 28 U.S.C. §

139 1(b)(2) and/or (3), because a substantial part of the events giving rise to AEP's

claims against Defendants occurred in this judicial district, and/or because JKM is

subject to the Court's personal jurisdiction with respect to this action in this

judicial district.

        10.    All conditions precedent to this action have been performed, have

occurred, or have been waived.




                                           3
   Case 2:12-cv-00919-WKW-WC Document 1 Filed 10/19/12 Page 4 of 21




                           FACTUAL BACKGROUND

      11.    AEP is a leading supplier of high-performance interconnect products

and related services.

       12.   JKM is a wiring harness manufacturer and makes products for the

defense, communications, and aerospace industries.

       13.   Beginning prior to March 2007, JKM began ordering from AEP, and

AEP began supplying to JKM on credit, various types of products, which JKM

incorporated into its products and sold to its customers.

       14.   On or about March 12, 2007, in order to induce AEP to extend its

open credit line from $50,000, and in order to secure the due payment of the

indebtedness of JKM to AEP above $50,000, Mr. White and Mr. Theune each

executed a Personal Guaranty (together, the "Personal Guarantees"). (See Ex. A,

Personal Guarantees.) Mr. White represented in his Personal Guaranty that he was

the "Chairman of the [B]oard" of JKM. (Id.) Mr. Theune represented in his

Personal Guaranty that he was a "50%" owner of JKM. (Id.)

       15.   The Personal Guarantees provide, in part, as follows:

             I, [Robert J. Theune/Chad B. White] . . . for and in
             consideration of the A.E. Petsche Co., Inc., extending its
             open credit line from $50,000 at my request to JKM
             Manufacturing, Inc., (herein after referred to as the
             "Company") ... hereby personally guarantee to you the
             payment of any obligation of the Company above
             $50,000 to A.E. Petsche Co., Inc. I hereby agree to bind
             myself and my heirs to pay the A.E. Petsche Co., Inc. on
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   Case 2:12-cv-00919-WKW-WC Document 1 Filed 10/19/12 Page 5 of 21




               demand any sum which may become due to you by the
               Company whenever the Company shall fail to pay the
               same.

               I understood that this guaranty shall be a continuing and
               irrevocable guaranty and indemnity for such
               indebtedness of [t]he Company.

               It is agreed that revocation of this guaranty may only be
               made in writing. Such revocation may not be made
               retroactive. Notice must be in the form of a registered
               letter delivered to and signed by an officer of this
               Company. Termination of this guaranty shall be
               effective upon receipt of such notification.

(Id.)

         16.   At the time the parties entered into the Personal Guarantees, AEP's

Corporate Credit Manager discussed a consignment arrangement with Mr. Theune

and Mr. White, whereby AEP would supply product to JKM on a consignment

basis.

         17.   On October 1, 2009, AEP and JKM entered into a Consignment

Inventory Agreement, pursuant to which the parties agreed that AEP would supply

product to JKM on a consignment basis.          (See   Ex. B, Consignment Inventory

Agreement.)

         18.   The Consignment Inventory Agreement was signed by Mr. White, on

behalf of JKM, in his capacity of "CEO." (Id. at 5,)

         19.   The Consignment Inventory Agreement provides that "[i]n the event

[AEP] is required to take legal action to collect unpaid amounts, and [AEP] is

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   Case 2:12-cv-00919-WKW-WC Document 1 Filed 10/19/12 Page 6 of 21




successful in such action, Buyer JKM will reimburse all costs and reasonable

attorneys' fees incurred by [AEP] in such action." (Id. at 2.)

      20.    JKM also granted AEP a broad security interest in its assets. AEP's

security interest is evidenced by and subject to the terms of a Security Agreement.

(See Ex. C, Security Agreement.) The Security Agreement was "accepted" and

signed on behalf of JKM by Mr. White, "at Eufaula, Al[abama], this 13th day of

November, 2009." (Id. at 3.)

      21.    Thereafter, JKM ordered from AEP, both under the Consignment

Inventory Agreement and non-consignment purchase orders, numerous products,

which AEP delivered to JKM on credit, and which JKM incorporated into or used

to repair its products, which products were subsequently sold to JKM's customers.

AEP invoiced JKM for each of its purchases.

      22.    AEP's invoices state that orders were "sent subject to [AEP's]

standard terms and conditions [the 'Terms and Conditions"], a copy of which is

located at www.aepetsche.com or upon request." (Ex. D, representative invoice.)

      23.    The Terms and Conditions state that "any past due balance will accrue

interest at the monthly rate of one and one-half percent." (Ex. E, Terms and

Conditions ¶ 1.) The Terms and Conditions further provide that "[JMK] is

responsible for all costs and expenses incurred by [AEP] in collecting any sums

owed by [JMK] (which may include, but are not limited to, collection agency and


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   Case 2:12-cv-00919-WKW-WC Document 1 Filed 10/19/12 Page 7 of 21




reasonable attorneys' fees)." (Id. 14.) Finally, the Terms and Conditions provide

that all transactions will be governed by the laws of the state of New York, and that

the parties "waive any right to trial by jury." (Id.)

      24.    JKM accepted the products delivered by AEP under the Consignment

Inventory Agreement and non-consignment purchase orders, and therefore agreed

to the invoices and Terms and Conditions.

      25.    Although the products at issue were shipped by AEP to JKM (at

JKM's request and pursuant to JKM's purchase orders), and although JKM

accepted and consumed the products, JKM has since failed and/or refused to pay

for them in breach of the applicable invoices, the Terms and Conditions, and the

Consignment Inventory Agreement.

      26.    JKM currently owes AEP the principal amount of $707,990.92 for

product shipped under the Consignment Inventory Agreement and non-

consignment purchase orders and invoices. (See Ex. F, account statement.)

      27, AEP has demanded that JKM pay its indebtedness to AEP, which is

due and owing, but JKM has failed or refused to do so.

      28. Neither Mr. White nor Mr. Theune made any attempt to revoke the

Personal Guarantees before JKM incurred the above indebtedness to AEP, and

therefore they are each obligated to pay the indebtedness of JKM to AEP above

$50,000 (i.e., $657,990.92).


                                           7
   Case 2:12-cv-00919-WKW-WC Document 1 Filed 10/19/12 Page 8 of 21




      29.    AEP has demanded that Mr. White and Mr. Theune pay JKM's

indebtedness to AEP above $50,000, which is due and owing, but they have each

failed or refused to do so in material breach of the Personal Guarantees.

                          FIRST CAUSE OF ACTION
            (Breach of Contract—Consignment Inventory Agreement)
                                (Against JKM)

      30.    AEP hereby incorporates and realleges paragraphs 1 through 29 of the

Complaint as though fully set forth herein.

      31.    The Consignment Inventory Agreement is a legally enforceable

contract between AEP and JKM.

      32.     JKM has failed or refused to perform its obligations under the

Consignment Inventory Agreement, including, but not limited to, paying the

amounts due under the Agreement, and has therefore materially breached the

Agreement.

      33.     Under the Consignment Inventory Agreement, JKM is liable to AEP

for the attorneys' fees and costs incurred by AEP in enforcing its rights under the

Agreement.

      34.    AEP has discharged any condition precedent to JKM's obligation to

perform its obligations under the Consignment Inventory Agreement.
  Case 2:12-cv-00919-WKW-WC Document 1 Filed 10/19/12 Page 9 of 21




        35.    As a direct and proximate result of JKM's breach of the Consignment

Inventory Agreement, AEP has suffered, and will continue to suffer, damages in an

amount to be proven at trial, but not less than $402,701.04.

        36.    Wherefore, AEP demands judgment against JKM in the principal

amount of $402,701.04, plus pre- and post-judgment interest, costs, and attorneys'

fees.

                          SECOND CAUSE OF ACTION
              (Breach of Contract—Consignment Agreement Invoices)
                                 (Against JKM)

        37.    In the event JKM denies the existence or enforceability of the

Consignment Inventory Agreement, AEP pleads and claims in the alternative as

follows:

        38.    AEP hereby incorporates and realleges paragraphs 1 through 37 of the

Complaint as though fully set forth herein.

        39.    JKM accepted the products delivered by AEP under the consignment

agreement invoices and therefore agreed to be bound by such invoices and the

Terms and Conditions.

        40.    AEP has discharged any condition precedent to JKM's obligation to

pay the consignment agreement invoice amounts.

        41.    JKM has failed or refused to pay the amounts owing under the

consignment agreement invoices as they have become due. JKM's failure to pay
  Case 2:12-cv-00919-WKW-WC Document 1 Filed 10/19/12 Page 10 of 21




the amounts owing under the consignment agreement invoices constitutes a

material breach of contract.

      42.    Under the consignment agreement invoices and the Terms and

Conditions, JKM is liable to AEP for the attorneys' fees and costs incurred by AEP

in enforcing its rights under the consignment agreement invoices.

      43.    As a direct and proximate result of JKM' s breach of the consignment

agreement invoices, AEP has suffered, and will continue to suffer, damages in an

amount to be proven at trial, but not less than $402,701.04.

      44.    Wherefore, AEP demands judgment against JKM in the principal

amount of $402,701.04 under the consignment agreement invoices, plus pre- and

post-judgment interest, costs, and attorneys' fees.

                        THIRD CAUSE OF ACTION
         (Breach of Contract—Non-Consignment Agreement Invoices)
                              (Against JKM)

      45.    AEP hereby incorporates and realleges paragraphs 1 through 44 of the

Complaint as though fully set forth herein.

      46.    In addition to ordering and accepting product from AEP under the

Consignment Inventory Agreement, JKM also ordered and accepted products from

AEP under non-consignment agreement invoices, and therefore agreed to be bound

by such invoices and the Terms and Conditions.




                                          10
  Case 2:12-cv-00919-WKW-WC Document 1 Filed 10/19/12 Page 11 of 21




      47.    AEP has discharged any condition precedent to JKM's obligation to

pay the non-consignment agreement invoice amounts.

      48.    JKM has failed or refused to pay the amounts owing under the non-

consignment agreement invoices as they have become due. JKM's failure to pay

the amounts owing under the non-consignment agreement invoices constitutes a

material breach of contract.

      49.    Under the non-consignment agreement invoices and the Terms and

Conditions, JKM is liable to AEP for the attorneys' fees and costs incurred by AEP

in enforcing its rights under the non-consignment agreement invoices.

       50.   As a direct and proximate result of JKM's breach of the non-

consignment agreement invoices, AEP has suffered, and will continue to suffer,

damages in an amount to be proven at trial, but not less than $305,289.88.

       51.   Wherefore, AEP demands judgment against JKM in the principal

amount of $305,289.88 under the non-consignment agreement invoices, plus pre-

and post-judgment interest, costs, and attorneys' fees.

                          FOURTH CAUSE OF ACTION
                             (Unjust Enrichment)
                               (Against JKM)

      52.    In the event JKM denies the existence or enforceability of the

Consignment Inventory Agreement and/or the invoices, AEP pleads and claims in

the alternative as follows:


                                          11
  Case 2:12-cv-00919-WKW-WC Document 1 Filed 10/19/12 Page 12 of 21




       53.   AEP incorporates and realleges paragraphs I through 52 of the

Complaint as though fully set forth herein.

       54.   AEP obtained and supplied products for JKM with a good faith belief

that it would be paid for the products.

       55.   JKM knew that it was receiving products supplied by AEP, that AEP

was obtaining other products on JKM' s behalf, and that AEP reasonably expected

to be paid for the products.

       56.   Despite demand by AEP, JKM has failed to pay the amounts due

AEP.

       57.   Under the circumstances, JKM is obligated to pay the reasonable

value of the products AEP obtained and supplied for JKM.

       58.   As a direct and proximate result of JKM's failure to pay for the

products, AEP has suffered damages in an amount not less than $707,990.92.

       59.   Wherefore, AEP demands judgment against JKM in the amount of

$707,990.92, plus pre- and post-judgment interest, costs, and attorneys' fees.

                              FIFTH CAUSE OF ACTION
                                   (Account Stated)
                                    (Against JKM)

       60.   In the event JKM denies the existence or enforceability of the

Consignment Inventory Agreement and/or the invoices, AEP pleads and claims in

the alternative as follows:


                                          12
  Case 2:12-cv-00919-WKW-WC Document 1 Filed 10/19/12 Page 13 of 21




      61.    AEP incorporates and realleges paragraphs 1 through 60 of the

Complaint as though fully set forth herein.

      62.    During the course of the parties' relationship, JKM ordered from AEP

various products on credit.

      63.    JKM has made partial payment on its account with AEP. Its partial

payments constitute an acknowledgment of the validity of its indebtedness to AEP

on the account.

      64.    Despite demand by AEP. JKM has failed to pay the balance of the

account, which is immediately due and owing.

      65.    As a direct and proximate result of JKM's failure to pay the balance

due on the account, AEP has suffered damages in the amount of $707,990.92.

      66.    Wherefore, AEP demands judgment against JKM in the sum of

$707,990.92, plus pre- and post-judgment interest, costs, and attorneys' fees.

                              SIXTH CAUSE OF ACTION
                                 (Promissory Estoppel)
                                    (Against JKM)

      67.    In the event JKM denies the existence or enforceability of the

Consignment Inventory Agreement and/or the invoices, AEP pleads and claims in

the alternative as follows:

      68.    AEP incorporates and realleges paragraphs 1 through 67 of the

Complaint as though fully set forth herein.


                                         13
  Case 2:12-cv-00919-WKW-WC Document 1 Filed 10/19/12 Page 14 of 21




      69.    JKM represented and promised, by agreement and by course of

conduct, that it would purchase products from AEP.

      70.    AEP reasonably and foreseeably relied on JKM's representations and

actions. In turn, AEP proceeded to deliver certain products to JKM, the reasonable

value of which is an amount that is not less than $707,990.92.

      71.    JKM foresaw, or reasonably should have foreseen, that AEP would

act in reliance on its representations and actions.

      72.    JKM's refusal to honor its promises and commitments has caused, and

will continue to cause, AEP to suffer general and consequential damages in an

amount not less than $707,990.92.

      73.    Wherefore, AEP demands judgment against JKM in the sum of

$707,990.92, plus pre- and post-judgment interest, costs, and attorneys' fees.

      74.    Additionally, JKM should be estopped from denying that it agreed to

pay for the products pursuant to the terms of the Consignment Inventory

Agreement and the invoices.

                       SEVENTH CAUSE OF ACTION
                     (Writ of Replevin and Lien Foreclosure)
                                 (Against JKM)

      75.    AEP incorporates and realleges paragraphs I through 74 of the

Complaint as though fully set forth herein.




                                           14
  Case 2:12-cv-00919-WKW-WC Document 1 Filed 10/19/12 Page 15 of 21




      76.    AEP has a security interest in the collateral securing JKM's obligation

to pay the amounts owing under the Consignment Inventory Agreement and non-

consignment agreement invoices.

      77.    JKM is in breach and default of its obligation to pay the amounts

owing to AEP.

      78.    Under the Security Agreement, as well as under applicable state law,

AEP is entitled to take possession of the collateral due to JKM's default.

      79.    AEP is, therefore, entitled to the issuance of a writ of replevin

requiring the sheriff or constable to forthwith take possession of the collateral and

deliver it to AEP.

      80.    Under the Security Agreement, as well as under applicable state law,

AEP is thereafter entitled to sell or otherwise dispose of the collateral.

      81.    AEP is further entitled to recover from JKM the attorneys' fees, legal

expenses, and other costs it has incurred, and will continue to incur, in this action.

                         EIGHTH CAUSE OF ACTION
                          (Breach of Personal Guaranty)
                       (Against Mr. White and Mr. Theune)

      82.    AEP incorporates and realleges paragraphs I through 81 of the

Complaint as though fully set forth herein.

      83.    As alleged above, JKM has defaulted on and breached the

Consignment Inventory Agreement and the non-consignment agreement invoices


                                           15
  Case 2:12-cv-00919-WKW-WC Document 1 Filed 10/19/12 Page 16 of 21




by failing and/or refusing to timely pay for the products it ordered and accepted

from JKM.

      84.     Pursuant to the Personal Guarantees, Mr. White and Mr. Theune each

guaranteed JKM's indebtedness due to AEP above $50,000. Thus, Mr. White and

Mr. Theune are each liable to AEP in the amount of $657,990.92.

      85.     Mr. White and Mr. Theune, however, have each failed and/or refused

to pay the indebtedness of JKM to AEP above $50,000, and are therefore in breach

and default of the Personal Guarantees.

       86.    AEP has discharged any condition precedent to Mr. White's and

Mr. Theune's personal obligation to pay the indebtedness of JKM to AEP above

$50,000.

       87.    As a direct and proximate result of Mr. White's and Mr. Theune's

failure to pay their personal obligation pursuant to the Personal Guarantees, AEP

has been damaged in the amount of not less than $657,990.92, plus pre- and post-

judgment interest, costs, and attorneys' fees.

                         NINTH CAUSE OF ACTION
                             (Promissory Estoppel)
                      (Against Mr. White and Mr. Theune)

       88.    In the event Mr. White and Mr. Theune deny the existence or

enforceability of the Personal Guarantees, AEP pleads and claims in the alternative

as follows:


                                          16
  Case 2:12-cv-00919-WKW-WC Document 1 Filed 10/19/12 Page 17 of 21




      89.    AEP incorporates and realleges paragraphs 1 through 88 of the

Complaint as though fully set forth herein.

      90.    Mr. White and Mr. Theune each represented and promised, by

agreement and by course of conduct, that they would personally guarantee the

payment of JKM's indebtedness to AEP above $50,000.

      91.    AEP reasonably and foreseeably relied on Mr. White's and

Mr. Theune's representations and actions. In turn, AEP extended its open credit

line to JKM above $50,000, and proceeded to deliver certain products to JKM, the

reasonable value of which is an amount that is not less than $707,990.92.

      92.    Neither Mr. White nor Mr. Theune made any attempt to revoke the

Personal Guarantees before JKM incurred the above indebtedness to AEP.

      93.     Thus Mr. White and Mr. Theune each foresaw, or reasonably should

have foreseen, that AEP would act in reliance on their representations and actions.

      94.    Mr. White's and Mr. Theune's refusal to honor their promises and

commitments has caused, and will continue to cause, AEP to suffer general and

consequential damages in an amount not less than $657,990.92.

      95.    Wherefore, AEP demands judgment against Mr. White and

Mr. Theune in the sum of $657,990.92, plus pre- and post-judgment interest., costs,

and attorneys' fees.




                                         17
 Case 2:12-cv-00919-WKW-WC Document 1 Filed 10/19/12 Page 18 of 21




      96. Additionally, Mr. White and Mr. Theune should be estopped from

denying that they agreed to pay for the indebtedness of JKM to AEP above

$50,000.

                            PRAYER FOR RELIEF

      WHEREFORE, AEP respectfully prays that this Court enter judgment

against JKM in the following manner:

      1.    Under the First Cause of Action, for general compensatory and

consequential damages in an amount subject to proof at trial, but not less than

$402,701.04, plus pre- and post-judgment interest.

      2.    Under the Second Cause of Action, for general compensatory and

consequential damages in an amount subject to proof at trial, but not less than

$402,701.04, plus pre- and post-judgment interest.

      3.    Under the Third Cause of Action, for general compensatory and

consequential damages in an amount subject to proof at trial, but not less than

$305,289.88, plus pre- and post-judgment interest.

      4.    Under the Fourth Cause of Action, for general compensatory and

consequential damages in an amount subject to proof at trial, but not less than

$707,990.92, plus pre- and post-judgment interest.




                                        18
  Case 2:12-cv-00919-WKW-WC Document 1 Filed 10/19/12 Page 19 of 21




      5.	       Under the Fifth Cause of Action, for general compensatory and

consequential damages in an amount subject to proof at trial, but not less than

$707,990.92, plus pre- and post-judgment interest.

      6.        Under the Sixth Cause of Action, for general compensatory and

consequential damages in an amount subject to proof at trial, but not less than

$707,990.92, plus pre- and post-judgment interest.

          7.    Under the Seventh Cause of Action, (a) judgment against JKM in the

amount of $707,990.92, plus pre- and post-judgment interest, costs, and attorneys'

fees; (b) a Writ of Replevin for possession of the collateral; and (c) an order

directing the disposition of the collateral pursuant to state law.

          8.    Under the Eighth Cause of Action, for general compensatory and

consequential damages in an amount subject to proof at trial, but not less than

$657,990.92, plus pre- and post-judgment interest.

          9.    Under the Ninth Cause of Action, for general compensatory and

consequential damages in an amount subject to proof at trial, but not less than

$657,990.92, plus pre- and post-judgment interest.

          10.   For attorneys' fees and costs incurred by AEP in prosecuting this

action.

          11. For such other and further relief as the Court deems just and proper.




                                           19
  Case 2:12-cv-00919-WKW-WC Document 1 Filed 10/19/12 Page 20 of 21




     Respectfully submitted this 19th day of October, 2012.



                                            One of the Attorneys for Plaintiff,
                                            A.E. Petsche Co., Inc.

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                                       20
  Case 2:12-cv-00919-WKW-WC Document 1 Filed 10/19/12 Page 21 of 21




SERVICE TO BE MADE ON DEFENDANTS VIA:

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                                    21
